                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WISCONSIN


WILFREDO VASQUEZ
              Petitioner,

      v.                                               Case No. 08-C-0664
                                                       (Criminal Case No. 98-CR-104)

UNITED STATES OF AMERICA
               Respondent.


                                           ORDER

      Petitioner Wilfredo Vasquez filed a motion pursuant to 28 U.S.C. § 2255 challenging his

life sentence for racketeering and controlled substance offenses. The § 2255 motion raises

various claims of ineffective assistance of counsel. Petitioner indicated in the motion that he

would file a supplemental memorandum on or before October 21, 2008, and I deferred Rule

4 screening pending review of the supplement.

      Petitioner has now filed motions to obtain grand jury transcripts and for appointment of

counsel. I deny the motions.

                               I. GRAND JURY TRANSCRIPTS

      Petitioner seeks an order directing the government to provide the grand jury transcripts

related to his criminal proceeding. He states that, on information and belief, the government

may have violated its duty to present exculpatory evidence to the grand jury. He also states

that the transcripts are necessary to substantiate his claims in the § 2255 motion.

      A party may obtain grand jury information on a showing of “compelling necessity” and

“particularized need.” See, e.g., In re Grand Jury Proceedings, 942 F.2d 1195, 1198 (7th Cir.




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1991). Petitioner fails to make such a showing here. Contrary to petitioner’s suggestion, there

is no requirement that the prosecutor disclose exculpatory evidence to the grand jury. United

States v. Williams, 504 U.S. 36, 55 (1992). Further, none of petitioner’s specific claims of

alleged ineffectiveness implicate the grand jury in any way. His first claim pertains to the

alleged failure of his first lawyer, Mark Richards, to investigate between June 25, 1998 and

November 13, 1998. Petitioner provides no basis for finding that grand jury material is even

relevant to this claim. Petitioner’s second claim is that on July 9, 1998, Attorney Richards

improperly agreed to waive his speedy trial rights. Again, I fail to see how any grand jury

material would be necessary to support this claim. Third, petitioner claims that the court later

rushed the case to trial too fast, not permitting his third appointed lawyer, Patrick Blegen,

sufficient time to prepare. Nothing that occurred before the grand jury appears relevant to this

claim. Fourth, petitioner argues that Richards and Nick Kostich (petitioner’s second lawyer)

failed to investigate certain of the predicate acts and the evidence related thereto. Again,

petitioner fails to specify how grand jury material would pertain to this claim. Fifth, petitioner

argues that Richards and Kostich failed to meet with him a sufficient number of times or to take

his phone calls. Nothing before the grand jury would lend support to this claim. Finally,

petitioner argues that excessive caseload(s) may have prevented counsel from providing

competent representation. The grand jury would not have investigated the caseloads of the

lawyers who later represented petitioner.

       A request for grand jury material must be more that a request for authorization to engage

in a fishing expedition which might turn up helpful evidence. In re EyeCare Physicians of Am.,

100 F.3d 514, 518 (7th Cir. 1996). A particularized showing of need must be made. Because



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petitioner has not done so, the motion must be denied.1

                              II. APPOINTMENT OF COUNSEL

       Petitioner requests appointment of counsel to assist in preparing an amendment or

supplement to his § 2255 motion. He states that he is unlearned in the law and possesses a

limited formal education.

       Under 18 U.S.C. § 3006A(a)(2), the court may appoint counsel for a § 2255 petitioner

if “the interests of justice so require.” The court must appoint counsel if it determines that an

evidentiary hearing is required to decide the motion, Rule 8(c) of the Rules Governing Section

2255 Proceedings, or if counsel is necessary for effective discovery, Rule 6(a) of the Rules

Governing Section 2255 Proceedings.

       I see no need for appointment of counsel at this point. I have not yet screened the

motion under Rule 4, let alone determined that a hearing is necessary. To the extent that

petitioner’s motion for grand jury material constitutes a discovery request, because the motion

lacks any merit I see no need for counsel to assist in discovery. Petitioner provides no reasons

for any further discovery. Finally, I cannot conclude that the interests of justice require counsel

at this point. I have yet to determine whether petitioner’s claims possess sufficient merit to

require a government response. Petitioner has thus far been able to sufficiently articulate and

present his claims, which also appear to be relatively straightforward. See Oliver v. United

States, 961 F.2d 1339, 1343 (7th Cir. 1992). Therefore, the motion is denied.



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         Petitioner cites 28 U.S.C. § 753(f), which supplies a basis for provision of free
transcripts necessary to decide a § 2255 motion, but even under that statute petitioner must
still make a showing of particularized need to obtain grand jury material. See United States v.
Lacey, 52 Fed. Appx. 126, 127 (10th Cir. 2002) (citing Sistrunk v. United States, 992 F.2d 258,
259 (10th Cir. 1993)).

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                              III. CONCLUSION

  THEREFORE, IT IS ORDERED that petitioner’s motions (R. 2470, 2471) are DENIED.

  Dated at Milwaukee, Wisconsin this 12th day of September, 2008.


                                             /s Lynn Adelman
                                             _______________________
                                             LYNN ADELMAN
                                             District Judge




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